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c. Other Hidden and Improper Inducements and Price Reductions

167. The Defendant Drug Manufacturers also have provided and/or arranged for many
other non-public financial inducements to stimulate sales of their Covered Drugs at the expense
of Plaintiffs and the members of the Class. Such inducements included volume discounts,
rebates, off-invoice pricing, free goods, credit memos, consulting fees, debt forgiveness and
educational and promotional grants. Ali of these mcentives were designed io lower the
providers’ net cost of purchasing the Defendant Drug Manufacturers’ Covered Drugs. And
again, the value of these services was kept “off the book,” so as to not be reflected in the AWP,

which in turn inflates the AWP.

Cc. The Defendant Drug Manufacturers’ Use of AWP Fraud to Increase and Maintain
the Price of Drugs Outside of the Medicare Part B Context

168. The Defendant Drig Manufacturers’ AWP frand strikes well beyond Medicare
Part B, adversely impacting health plans and their participants with respect to reimbursements
for scores of other drugs. As described below, one such area is the use of AWPs by PBMs.

169. Health plans typically contract with intermediaries called pharmacy benefit
managers (“PBMs”) so that a health plan’s participants can obtain brand name drugs from
pharmacies or, via mail order, directly from the PBMs. In these contracts, the brand name drugs
are priced at the AWP less a certain percentage “discount.”

170. Pharmacy benefit managers — or “PBMs” — are fiscal intermediaries that
specialize in the administration and management of prescription benefit programs. PBM clients
include HMOs, employers, preferred provider organizations and other health insurers.
Collectively, four PBMs comprise the significant market share of the PBM market. They are:
AdvancePCS; Caremark; Express Scripts; and Medco Health. These four companies handle the
drug benefits of 210 million people in the United States, or 70 percent of the nation’s population.

171. For brand name drugs, PBMs use inflated “Average Wholesale Price” -— or

“A WP” — set by drug manufacturers as the basis for reumbursement (i} made by health plans to

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the PBMs for their members’ drug purchases; and (ii) from the PBMs to the pharmacies for the
purchases made by health plans’ members. The PBMs typically contract with retail pharmacies
to remmburse an amount equal to each drug’s AWP, less a specified discount, plus a dispensing
fee. Because the PBMs consider the contracting relationship with retail pharmacies to be
confidential, health plans are never informed of the reimbursement amount to pharmacies.
However, the PBM frequently pockets a “spread” or differential between charges paid to
pharmacies and collected from clients. So, for example, clients may be charged the AWP minus
13 percent, but the retail pharmacy may only receive the AWP minus 15 percent, generating an
undisclosed 2 percent spread for the PBM. Furthermore, as the example presented demonstrates,
PBMs are motivated to, and do place on their formulary those drugs with inflated AWPs: the
greater the AWP inflation, the greater the profit to the PBM based on the 2 percent spread. A
similar situation occurs for generic drug pricing based on Maximum Acquisition Cost (“MAC”)
lists, as the PBM uses one MAC list to charge clients and another MAC list to reimburse
pharmacies. Further, with respect to mail order prescriptions, PBMs do business with companies
that have the right to repackage drugs; they are called repackagers. These repackagers assign a
new NDC number to a drug and publish a higher AWP. The PBM then negotiates with the
repackager a discount off the AWP and tells the health plan it has saved a certain percentage off
the AWP. But because the repackager’s AWP is higher, the health plan pays more and the PBM
pockets the spread between the AWP and the price paid to the repackager. PBMs also have mail:
order services in which case they act as the pharmacy. In this situation, the PBM keeps the
spread between the AWP and the list price as there is no intermediary, like a pharmacy
dispensing the drug. The PBMs keep this spread knowing that the AWPs are inflated and not the
trie AWP.

172, The Defendant Drug Manufacturers knew and understood that the PBM
Defendants used the Red Book and other publications to determine the AWPs of the drugs.

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Because the drug manufacturers controlled the AWPs published in the Red Book and other
compendia, the drug manufacturers knew and understood that they could help manipulate the
PBMs’ profits from Plaintiffs and the classes. The purpose of artificially inflating the PBMs’
profits was to create an illegal kickback to the PBMs, funded by health plan and subscriber
overpayments.

173. PBMs use the inflated AWPs set by drug manufacturers as the basis for the
payments (i) made by health plans to the PBMs for their members’ drug purchases, and Gi} from
the PBMs to the pharmacies for the purchases made by health plans’ members.

174. The PBMs typically contract with retail pharmacies to reimburse in an amount
equal to each drug’s AWP, less a specified discount, plus a dispensing fee. Because the PBMs
consider the contracting relationship with retail pharmacies to be confidential, health plans are
never informed of the reimbursement amount to pharmacies,

175. However, the PBMs frequently pockets a secret “spread” or differential between
charges paid to pharmacies and collected from clients. So, for example, clients may be charged
the AWP minus 13 percent, but the retail pharmacy may only receive the AWP minus 15
percent, generating an undisclosed 2 percent spread for the PBMs.

176. Furthermore, as the example presented demonsirates, PBMs are motivated to
place on their formulary those drugs with inflated AWPs: the greater the AWP inflation, the
greater the profit to the PBM based on the 2 percent spread.

i77. A similar situation occurs for generic drug pricing based on MAC lists, as the
PBM uses one MAC list to charge clients and another MAC list to reimburse pharmacies.

178. The PBMs deliberately utilize the inflated AWP to overcharge health plans for
brand name drugs purchased by their participants and beneficiaries at retail pharmacies. An
example of this practice was recently reported in the WALL STREET JOURNAL on March 30, 2003.

According to the JOURNAL article, the AWP for fluoxetine is $2.66 a pill. With a 60 percent

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discount off the AWP, that brings the price to $1.06 a pill the PBM collects from the plan.
Express Scripts pays the pharmacy 25 cents a pill and keeps the rest as profit. Express Scripts
claims that currently its client pays 60 cenis a pill, but since Express Scupts pays a pharmacy 25
cents per pill, it receives almost a 100 percent profit. And at the same time it was making this
profit, Express Scripts was notifying its cents it was saving them money by having switched to

fluoxetine, instead of Prozac.

D. The Defendant Drug Manufacturers’ Use of AWP Fraud to Increase and Maintain
Volume and Market Share For Generic and Multi-Source Drugs

179. The Defendant Drug Manufacturers’ AWP fraud is most exacerbated for generic
drugs or for brand name drugs for which there are biological or therapeutic equivalents.

180. Health plans and other sponsors of drug benefits contract with PBMs both so that
the plan’s participants can obtain brand name drugs from pharmacies or mail order distribution,
but alsa so that they might receive multi-source, or generic, drugs. As with brand name drugs,
reimbursement for multi-source, or generic, drugs is also related to a published average
wholesale price for each generic drug manufactured and/or distributed by a generic drug
company.

181. In the private payor arena, generic drug reimbursement is determined either in the
same manner for brand name drugs (i.e., a certain percentage “discount” off of the AWP), or is
based on the amount specified as the maximum allowable cost or “MAC.” MAC prices or
reimbursements rates are a schedule of pricing for generically equivalent drugs based upon the
listed average wholesale prices (A WPs)} of competing generic drug manufacturers. The federal
government originally introduced the concept of MAC reimbursement for generic medications.
The CMs issues a MAC price list for generic products that have three or more manufacturers or
distnbutors on the market. Because of this limitation, not all generics have a corresponding

CMS MAC price.

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182, PBMs often utilize this government-issued MAC reimbursement publication as a
basis for their proprietary MAC list and supplement the list with other generic products or
modify it for a variety of purposes. Sometimes, to stabilize the cost variance of different generic
products of the same compound, pharmacy benefit administrators calculate a maximum
allowable cost based on the list average wholesale prices of competing generic dmg
manufacturers (indeed, this is termed in the industry as the average average wholesale price or
“AAWP”). The resulting proprietary MAC generic drug reimbursement lists are typically based
on the AAWP and, in tum, the AWP.

183. Accordingly, in the private payor arena generic drug reimbursement is closely tied
to the published AWP for a generic drug. Generic drug makers are able to push market share for
their generic drugs by intentionally increasing the published AWP for a generic drug with the .
intention to create a profit margin for others in the distribution chain. That profit margin is taken
advantage of either directly (through reimbursement based upon the AWP for some plans and in
some channels) or indirectly on the AWP based upon the establishment of a MAC tied to the
AWP.

184. In the public payor arena under Medicare Part B, multi-source drugs or
biologicals are also reimbursed on the basis of AWP. For multi-source digs or biologicals,
under Medicare Part B the AWP is equal to the lessor of the median AWP of all of the generic
forms of the drug or biological, or the lowest brand name product AWP. Because
reimbursement is pegged to the AWP, drug makers act in unison by elevating the AWP for all
generic drugs, thereby inflating the amount of the reimbursement that occurs through Medicare
Part B, including the Medicare co-payment through Part B.

185. As stated by one industry consultant:

... This situation is more pronounced with generic drugs. Many
generic companies have taken advantage of this use of AWP by
substantially inflating their published AWPs.. . . [TJhe system
allows a retailer to acquire a drug at a low cost $2.50 per 100

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tablets, for example) while relying on a published AWP ($20.00 or
more) for its own pricing. It is not uncommon that the $25.00
retail price for a generic drug renders a gross profit well above
$20.00 for the retailer. It is also common for the AWP of a generic
product to remain stable while the actual selling price declines. . .
It is obvious that AWP is not an accurate measure of the prices
manufactures charge. It must also be noted that not all generic
products will be priced similarly. Some, in fact, use the more
traditional method of 2 20% markup to reach an AWP_ This can be
a handicap for generic companies choosing this method because
retailers often use the AWP as the starting point for many pricing
decisions and an artificially high AWP provides the retailer with
greater profits.

186. The raising of an individual Defendant’s reported AWP for a multi-source drug
raises the median AWP at which the generic drug is reimbursed. As a result, the publication and
teporting of fraudulent AWPs by Defendants for generic drugs squarely fits generic drugs in
which the cure of unlawful AWP inflation within the activity complained of in the MCC.
Moreover, while any one generic manufacturer can only effect the median generic
reimbursement AWP for a product, Defendants can and do create a spread between the median
AWP and the actual prices paid by reporting AWPs that are far in excess of the actual wholesale
prices while simultaneously maintaining or lowering actual wholesale prices.

187. Documents produced by Defendant generic manufacturers show that they are
aware of the AWPs reported by their competitors and of the actual sales price of their generic
competitors and that they manipulate their own AWPs in order to gain or maintain a competitive
advantage in the market for their generic products. Each Defendant generic maker or distributor
competes by inflating its AWP and thereby inflating the median AWP. The natural and expected
result of this “leap frogging” of increasing AWPs is that multi-source drugs have some of the
highest spreads of any drugs, sometimes resulting in an AWP over 50,000% over actual costs. A

few examples are set forth below:

DOJ
RedBook Determined Percentage
Defendant Miaultisource Drug AWP Actual AWP Spread
Abbott Sodium Chloride $670.89 $3.22 20,735%

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DOJ
RedBook Determined Percentage

Defendant Multisource Drug AWP Actual A WP Spread
Baxter Dextrose $928.51 $2.25 41,167%
Baxter Sodium Chioride $928.51 $1.71 34,199%
Boehringer Leucovorin Calcium $184.40 $2.76 6,581%
Group

B. Braun Sodimm Chloride $11.33 31.49 660%
BMS Group | Etoposide (Vepesid) $136.49 $34.30 298%
Dey Albuterol Sulfate $30.25 39.17 230%
Immunex Leucovorin Calcium $137.94 $14.58 846%
Pharmacia Etoposide $157.65 $9.47 1,565%
Sicor Group =| Tobramycin Sulfate $342.19 56.98 4,802%
Watson Vancomycin HCL $70.00 $3.34 1,567%

188. In summary, generic or multi-source drugs are subject to fraudulent AWP
manipulation as set forth in this Amended MCC.

189. The importance of AWPs to generic drigs was recently revealed in a Jawsuit filed
by Dey and two of the Publishers. In this lawsuit, Dey’s allegations can be summarized as
follows:

(a) Dey is a generic manufacturer, and generic manufacturers largely compete
on price because they market products that contain the same active ingredients and are
predominantly therapeutically interchangeable. (9 9 of Dey Complaint.)

(b) A large segment of the generic marketplace for respiratory drugs is
comprised of a relatively small number of entities controlling purchase decisions. ({ 12 of Dey —
Complaint.)

(c} The vast majority of prescription drug transactions — as much as 85% — are
covered, in whole or m part, by third-party payor reimbursement arrangements such as managed
care plans and Medicaid. (13 of Dey Complaint.) Both Medicaid and the private insurance

system rely on reimbursement formulas that utilize the AWP. ({] 14-16 of Dey Complaint.)

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This allegation confirms Plaintiffs’ allegations in this Complaint that the AWP fraud impacts
private markets, not just Medicaid.

(d) Dey has an agreement with First DataBank and Medi-Span to provide the
reporting services with AWP pricing information. Pursuant to this agreement (and in order to
make Dey’s products eligible for reimbursement through Medicaid Programs}, Dey has reported
WACs and AWPs. (9 26-32 of Dey Complaint.)

In each case, until the events that have resulted in the present
crisis, First DataBank has (except for some inadvertent errors)
selected for listing in its published reports the AWP as suggested
by Dey. For over ten years, until April 2003, no prices other than
those submitted by Dey have been listed by First DataBank as
AWP for Dey products in its databases [even though Dey also
reported declinmg WACs for the products].”

(4 32 of Dey Complaint; see also ¥ 36 of Dey Complaint for similar allegation against Medi-

Span.) This has also been the course of dealings between the Publishers and Dey’s competitors:

Virtually every drug manufacturer who participates in these

reimbursement programs, and against whom Dey competes also

communicates their suggested AWP prices to the reporting

services. To the best of Dey’s knowledge, with few, if any

exceptions, First DataBank and Medi-Span have selected and

reported the AWP pricing exactly as suggested by these competing

manufacturers.

(4 37 of Dey Complaint.) See also {47 of Dey Complaint (recounting testimony of First
DataBank representative who admits that First DataBank had always accepted the AWPs
suggested by the manufacturers).

(e) Providers who dispense generic drugs “are cognizant of, and are highly
attentive to, AWPs as reported by the recognized industry compendia published by First
DataBank and Medi-Span because of the direct relationship between the level of reimbursement
anticipated for the drugs selected and the reported AWPs of those drugs.” (9138 of Dey
Complaint.) Indeed, Dey admits that it has relied on the publishers’ practice of treating all

manufacturers equally by simply reporting whatever AWP a manufacturer submitted.

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Consequently, First DataBank and Medi-Span have frustrated Dey’s “reasonable expectations”
by independently reporting an AWP different than that submitted by Dey. (4 39 of Dey
Complaint.) These allegations become even more emphatic in a section of the Complaint titled

“The Immediate Consequences of the Arbitrary Changes:”

Since reimbursement to Dey’s customers is, in Medicaid program
in many states and in and [sic] insurance programs, most
frequently based on the AWP as reported by the reporting services,
this arbitrary and capricious reduction by First DataBank and
Medi-Span in AWP would result in a drastic reduction m the
reimbursement to drug providers who choose to dispense Dey’s
product. Since there has not been a comparable reduction in the
AWP for Dey’s competitors, there would be no comparable
reduction in the reimbursement the purchasers of competitive
products receive.

Because reimbursement for Dey products would be significantly
reduced, but reimbursement for those competing products would
remain as they have been, Dey is prevented, by First DataBank’s
and Medi-Span’s arbitrary and capricious acts, from effectively
competing in the marketplace.

In fact, within one day of learning that First DataBank and Medi-
Span had arbitrarily changed Dey’s AWP, Dey has already been

contacted by at least nine of its customers complaining about the
drastic changes and indicating that, because of those changes, the
customers would not be able to purchase Dey products since they
could not earn a reasonable profit from the sale of such products.

Further, at least one customer has already indicated that he had
canceled all of his purchases presently on order from Dey and was,
instead, buying those products from Dey’s direct competitors.

-.... These providers will cease to purchase and dispense Dey’s
drugs if the reimbursement for those drugs is a fraction of those
obtained from competing companies. Because purchasing
decisions are highly concentrated in this industry among
wholesalers and group purchasing organizations, this scenario is
playing out across the country and threatens to eliminate sales of
Dey’s products that are covered by Medicaid and insurance
reimbursement programs.

(Tf 50-54 of Dey Complaint.)
190. These allegations confirm the allegations herein that medical providers rely on

Spreads in dispensing (and, consequently, so do the manufacturers in order to move market

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Share). Further, these allegations are akin to saying: “We all committed fraud on an even basis,
but now only my competitors can commit fraud; consequently, 1 have now suffered damage.”
E. Defendants’ Concealment of the Truth

191. Each Defendant concealed its fraudulent conduct from the Plaintiffs and the Class
by controlling the process by which the AWPs for Covered Drugs and brand name drugs were
set. Defendants prevented Plaintiffs and the Class Members from knowing what the actual
pricing structures for these drugs were, and failed to inform them of the usage of free samples
and the provision of other financial incentives to providers and other intermediaries to lower
their respective costs for the drugs. Moreover, Defendants’ fraudulent conduct was of such a
nature as to be self-concealing.

192. Each Defendant closely guarded its pricing structures and sales figures for their
Covered Drugs and brand name drugs. CMS Health Care Industry Market Update (dated
January 10, 2003) stated that drug “ptice discounts are closely guarded as competitive
information.” See p. 39.

193. Each Defendant also concealed its fraudulent conduct by instructing providers and
others not to report the prices they paid for the Covered Drugs and brand name drugs,
respectively.

194. Each Defendant also worked with and motivated provider and intermediary trade
associations to halt any investigations or change in the AWP system.

195. Each Defendant’s efforts to conceal its pricing structures for Covered Drugs and
brand name drugs is evidence that it knew that its conduct was fraudulent.

196. Thus, each Defendant concealed that (i) its AWPs were highly-inflated (and were
inflated solely to cause Plaintiffs and the Class to overpay for the AWPIDs)}, (ii) it was
manipulating the AWPs of the AWPIDs, and (iii) the AWPs bore no relationship to the prices

paid for, or the pricing structure of, the AWPIDs as they were sold to providers and others.

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197. Plaintiffs were diligent in pursuing an investigation of the claims asserted in this
Complaint. Through no fault of their own, they did not receive inquiry notice nor learn of the
factual basis for their claims in this Complaint and the injuries suffered therefrom until recently.
F, Tolling of Applicable Statutes of Limitation

198. Any applicable statutes of limitations have been tolled by Defendants’ knowing
and active concealment and denial of the facts alleged herein. Plaintiffs and members of the
Class have been kept in ignorance of vital information essential to knowledge of and the pursuit
of these claims, without any fauit or lack of diligence on their part. Plaintiffs and members of
the Class could not reasonably have discovered the fraudulent nature of the published AWPs.

199. Defendants were and continue to be under a continuing duty to disclose to
Plaintiffs and the Class the fact that the published AWPs bore and continue to bear no
relationship to the prices or pricing structures for Covered Drugs and brand name drugs.
Because of their knowing, affirmative, and/or active concealment of the fraudulent nature of the
published AWPs, Defendants are estopped from relying on any statutes of limitations.

Vv. EXAMPLES OF SPECIFIC UNLAWFUL CONDUCT

200. Due to acts of concealment by each Defendant, the following examples of the
specific unlawful conduct engaged in by each particular Defendant are merely illustrative. They
are not intended to be an exhaustive account of all of the unlawful activity engaged in by each
Defendant. Instead, these allegations allege the circumstances of the wrongdoing with some
detail. Additional detail is peculiarly within the Defendants’ control and warrants that further
discovery should proceed as to each drug identified in this Complaint as well as other drugs

whose AWP is published by any Defendant.
A. Abbott
201. Abbott engages in an organization-wide and deliberate scheme to inflate AWPs.

Abbott has stated fraudulent AWPs for all or almost ail of its drugs, including those set forth

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below. The specific drugs of Abbott for which relief is currently sought in this case are set forth

in Appendix A, and are identified below:

eGlappacable
ABBOTT A-Methapred

methylprednisolone
sodium succinate

Anti-Inflammatory Agent

Used to provide relief for inflamed areas of
the body. Also used for control of allergic
processes

Aminosyn

amino acid

Nitrogen Product
Used as a nutritional supplement

Biaxin

clarithromycin

Macrolide (Anti-Infective Agent)
Used to treat mild to moderate infections

Calcijex

calcitrol

Hormone
Used in the treatment of hypocalcemia

Depakote

divalproex sodium

Anticonvulsant
Used in the treatment of complex partial
seizures

Ery-tab

erythromycin, enteric-
coated

Antibiotic Agent (Anti-Infective Agent)
Used in the treatment of various infections

Erythromycin

erythromycin base

Antiacne Agent; Anti-Infective Agent
Used in the treatment of various infections

Liposyn HO

fat emulsion

Caloric Agent; Nutritional Supplement
Used as 2 nutritional supplement

Prevacid

lansoprazole

Proton Pump Inhibitor (Gastrointestinal
Agent)

Used in the treatment of duodenal ulcer and
erosive esophapitis

acetylcysteme

Mucolytic (Respiratory Agent: Diagnostic
Aid)

Used for certain lung conditions when
increased amounts of mucus make breathing
difficult

acyclovir sodium

Anti-Infective Agent
Used in the treatment of herpes infections

amikacin sulfate

Antibiotic Agent (Anti-Infective Agent)
Used to treat respiratory tract, urinary tract,
bone, skin and soft tissue infections

cimetidine Gastrointestinal Agent
hydrochloride Used in the treatment of duodenal ulcer and
prevention of ulcer recurrence
clindamycin phosphate { Anti-Infective Agent
Used in the treatment of vaginal infections
dextrose Caloric Agent

Used to increase intake of calories and fluids

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dextrose sodium Caloric Agent; Electrolyte Replenisher
chloride Used to increase intake of calories and fluids
diazepam. Central Nervous System Agent

Used to treat status eplipeticus and anxiety
disorders. Also used as an amnesic prior to
surgical procedures

fentanyl citrate Central Nervous System Agent
Used for anesthetic purposes
furosemide Diuretic

Used in the treatment of edema associated
with cirrhosis and kidney disease, Also used
to manage hypertension

gentamicin sulfate Anti-Infective Agent

‘Used as a general antibiotic to treat serious
gastrointestinal, respiratory, bone, skin and
soft tissue infections

heparin sodium or Blood Modifier

heparin lock flush Used to prevent and treat thrombosis and
pulmonary embclism. Also used as an
anticoagulant in blood transfusions and
dialysis procedures

leucovorin calcium Antianemic Agent (Blood Modifier}
Used in the treatment of anemia
lorazepam Central Nervous System Agent
Used in the treatment of anxiety disorders
sodium chloride Flush; Abortifacient

Used to remove medicine and blockage from
intravenous ([V) catheter. Also used to induce

abortion
tobramycin sulfate Antibiotic Agent (Anti-Infective Agent}

Used to treat severe infection
vancomycin Antibiotic Agent (Anti-Infective Agent)
hydrochloride Used as a general antibiotic |

1. Abbott Has Been The Target of Government Investigations

202. In connection with its scheme to inflate AWPs, Abbott has been investigated by
the United States Department of Justice, Commonwealth of Massachusetts, the Office of
Inspector General of the Department of Health and Human Services, the Attomey General for
the State of Texas, the Attomey General for the State of California, and the State of California

Department of Justice Bureau of Medi-Cal Fraud and Elder Abuse.

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203. These investigations confirm that Abbott has engaged in a deliberate scheme to
inflate the published AWPs for many of its drugs. According to Representative Pete Stark, the

ranking member of the Congressional Ways and Means Committee:

The price manipulation scheme is executed through Abbott’s
inflated representations of average wholesale price (“SAWP”) and
direct price (“DP”) which are utilized by the Medicare and
Medicaid programs in establishing drug reimbursements to
providers. The difference between the inflated representations of
AWP and DP versus the true price providers are paying, is
regularly referred to. . . as “the spread.” The evidence .. . clearly
shows that Abbott has intentionally reported inflated prices and has
engaged in other improper business practices in order to cause its
customers to receive windfall profits from Medicare and Medicaid
when submitting claims for certain drugs. The evidence further
reveals that Abbott manipulated prices for the express purpose of
expanding sales and increasing market share of certain drugs. This
was achieved by arranging financial benefits or inducements that
influenced the decisions of health care providers submitting
Medicare and Medicaid claims.

See October 31, 2000 letter from U.S. Representative Pete Stark to Miles White, Chief Executive
Officer of Abbott. (P007647-78.)

2. Abbott Controls the Published AWP for Its Products

204. Abbott has controlled and set the AWPs for its pharmaceutical products through

direct communications with industry compendia during the Class Period.

3.
REDACTED
205.
a,
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REDACTED

REDACTED

REDACTED

206.

REDACTED

207.
REDACTED

4, Specific Abbott AWPs Documented by the DOJ

208. Ina report published by the DHHS (the “DHHS Report”; PM Rev. AB-00-86,
“An Additional Source of Average Wholesale Price Data In Pricing Drugs and Biologicals
Covered by the Medicare Program,” Sept. 8, 2000), the DOJ documented at least 81 instances
where the published AWPs for various dosages of 16 drugs manufactured by Abboit were

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substantially higher than the actual prices listed by wholesalers. The chart below sets forth the
16 drugs identified by the DOJ and the spread associated with one particular dosage of each
drug. These figures compare the DOJ’s determination of an accurate AWP for that particular
dosage, based upon wholesalers’ price lists, with the AWP reported by Abbott in the 2001 Red

Book.
Abbott’s 2001
Red Book DOJ Determined Percentage

Drug AWP Actual AWP Difference Spread
Acetylcysteine $35.87 $21.90 $13.97 64%
Acyclovir $1047.38 $349.05 $698.33 200%
Amikacin Sulfate $995.84 $125.00 $870.84 697%
Calcitriol (Calcijex) $1,390.66 $1079.00 $311.66 29%
Cimetidine Hydrochloride $214.34 $35.00 $179.34 312%
Clindamycin Phosphate $340.52 $75.35 $265.17 352%
Dextrose $239.97 $3.91 $236.06 6,037%
Dextrose Sodium Chloride $304.38 $1.93 $302.45 15,671%
Diazepam $28.50 $2.03 $26.47 1304%
Furosemide $74.52 $14.38 360.14 418%
Gentamicin Sulfate $64.42 $.51 $63.9] 12,531%
Hepatin Lock Flush $38.20 $13.60 $24.70 182%
Metholprednisolone $34.08 $2.30 331.78 1,382%
Sodium Succinate .
Sodium Chloride 3670.89 $3.22 $667.67 20,735%
Tobramycin Sulfate $150.52 $2.94 $147.58 5,020%
Vancomycin Hydrochloride $382.14 $4.98 $377.16 7,574%

(P006299-316.)
5. Additional Evidence Concerning Vancomycin

209. At least one Publisher, Medi-Span, challenged the manner in which Abbott set its
AWPs for vancomycin. The following statement appeared in a February 9, 1996 faxed letter to

Abbott from a representative of Medi-Span:

It appears that the only difference between these two products
listed is the vial it comes in. [fit is, please let us know why the
$400 plus difference in AWPs?... [T]his customer claims he can
get Vancomycin for $6 or $7 per vial DP as opposed to the $52.94
and $19.50 the Abbott Vancomycin cost.

(ABT AWP/MDL 001215.)

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210. The government investigation into Abbott’s AWP for vancomycin identified:

prices that are routinely made available to many providers, but are
far below Medicare reimbursement rates. They include 1999
prices for vancomycin, the Abbott Labs-manufactured antibiotic,
which a health care provider could buy for $76.00 but for which
the AWP upon which Medicare’s reimbursement was based on
was $261.84.
See September 25, 2600 letter from U.S. Rep. Tom Bliley to the Honorable Nancy-Ann Min
DeParle, Administrator of the Health Care Financing Administration. (P007015-490.)
211. For other doses of vancomycin, Abbott reported an AWP of $68.77 as of Apni
2000. The DOJ adjusted it to $8.14.
6. Additional Evidence for Amikacin
212. One published report states: “Amikacin, used to treat an infection that HIV+
people get and manufactured by Abbott, had an AWP of $54.56. DOJ said the actual price was
$6.75.” See States Mull Suit Against Drug Companies, www.stateline.org (April 2, 2001}

(P011268-70).

7. Inflated AWPs From Abbott Price Lists

213. In response to government subpoenas, Abbott produced numerous Price lists
Setting forth spreads between AWPs and prices offered to wholesalers, providers and other
intermediaries. A review of those price lists reveals that Abbott has consistently offered
hundreds of its drugs.and other solutions to its customers at prices significantly below the
published AWP and that the spread was of great importance to its customers. To repeat every
one of those drugs and the spread offered to each specific customer here is not practical.
However, set forth below in Tables 1 and 2 are a number of those drugs (not already referenced

above) with spreads in excess of 100% from two specific Abbott customers.

214.
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Table 1

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215.
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Table 2

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216. As set forth above, Abbott’s scheme to inflate its reported AWPs and market the
resulting spread to increase the market share of its drugs has resulted in excessive overpayments
by Plaintiffs and the Class.

B. Amgen

217. Amgen engages in an organization-wide and deliberate scheme to inflate AWPs.
Amgen has stated fraudulent AWPs for all or almost all of its drugs, including: Epogen (eportin
alfa for ESRD use),’ Neupogen (fiigrastim), Aransep (darbepoetin alfa), Enbrel, Kineret
{anakrina), and Neulasta (pegfilgrastim). The specific drugs of Amgen for which relief is sought

in this case are set forth in Appendix A and are set forth below:

AMGEN Aranesp darbepoetin alfa albumi | Antianemic Agent; Blood Modifier

: Used in the treatment of anemia associated
with chronic renal failure and/or
chemotherapy
Enbrel etanercept Antirheumatic Agent
Used to reduce signs and symptoms of
theumatoid arthritis
Epogen epoetin alfa Antianemic Agent, Blood Modifier
Used in the treatment of anemia associated
with chronic renal failure, chemotherapy
and/or HIV-infected patients

' In the Medicare Part B context, reimbursement for Epogen is not based on the A WP, but rather on a specific
dollar amount set by statute. However non-Medicare Part B reimbursement for Epogen is based on AWP for many
Class members,

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Grape ae

Kineret anakinra Antitheumatic Agent
Used in the treatment of moderate to severe
Theumatoid arthiritis

Neuiasta pegfilgrastim Antineoplastic; Blood Modifier

Used to decrease incidence of infection
(neutropenia) in some cancer patients
Neupogen filgrastim Antineoplastic; Blood Modifier

Used to decrease incidence of infection
(neutropenia) in some cancer and leukemia
patients

1. Amgen’s Definition and Understanding of AWP

218. Internally, Amgen defines AWP as “the common basis for reimbursement by
payors. AWP may not necessarily reflect the actual purchase price” (Press Release, “Data from
Study Shows Aranesp ...”, Dec. 9. 2002 (www.amgen.com)) or “one of the factors used by
Medicare to determine payment for drug charges.”

2. Amgen Controls the Published AWP for Its Products

219. Amgen has controlled and set the AWPs for its pharmaceutical products through

direct communications with industry compendia during the Class Period.

3. Angen’s AWP Manipulation Benefited Providers at the Expense of the Class
220. Amgen was well aware that its customers’ profits depended on reimbursement
rates for drugs, and that Amgen’s own sales and profits in turn depended on its customers’

reimbursement payments and profits:

Our sales depend on payment and reimbursement ftom third-party
payors, and a reduction in the payment rate or reimbursement rate
could result in decreased sales of our products.

In beth domestic and foreign markets, sales of our products are
dependent, in part, on the availability of reimbursement from third-
party payors ...we believe that sales of Aranesp and Neulasta are
and will be affected by government and private payor
reimbursement policies. ...If reimbursement for our marketed
products changes adversely or if we fail to obtain adequate
reimbursement for our other current or future products, health care
providers may limit how much or under what circumstances they

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will administer them, which could reduce the use of our products
or cause us to reduce the price of our products. This could result in
lower product sales or revenues ...

(Amgen 2002 Form 10-K at 43-44).

221. Amgen also knows that several of its drugs compete with other manufacturers’
drugs. In some cases, as detailed herein, the competing manufacturers’ manipulate the AWP to
create a reimbursement advantage for their drugs. Specifically, Amgen’s Kineret competes with
J&J’s Remicade and Immunex’s Enbrel; Neupogen competed against Immunex’s Leukine; and
Aranesp competes against Procrit, J&J’s epoetin alfa product. See Amgen’s 2001 Form 10-K
(P002327-002397). Ail of these competing drugs are alleged herein to be subject to AWP
manipulation. The logical inference is that Amgen also engaged in AWP manipulation for those
drugs where the competitors were manipulating and marketing the AWP spread.

222. Amgen also made sure iis sales representatives were focused on reimbursement

and customer profit motives. A senior Amgen sales manager has publicly stated:

Reps need to understand the insurance system flawlessly. They
need to understand the money trail in terms of how a drug gets
reimbursed, who reimburses it, and coverage or policy limitations
— those are fundamental questions.”

223, Amgen has also established a website (www.reimbursementconnection.com) to help
providers with reimbursement issues, including information on how to calculate reimbursement
for Amgen drugs and Sample Reimbursement Sheets detailing how much Medicare will pay for
Amgen drugs. In addition, Amgen maintains a telephone Reimbursement Hotline for providers .

or their office staffs to call to get help with reimbursement questions.

4. Amgen Provided Free Goods and Other Incentives

224. In addition to marketing the spread, Amgen has utilized other impermissible
inducements to stimulate sales of its drugs. These inducements were designed to result in a
lower net cost to the provider while concealing the actual wholesale price beneath a high invoice

price.

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225. A 1993 OIG Report detailed how Amgen gave substantial year-end rebates to its
customers based on their purchases of Epogen. The report noted that Medicare and Medicare
beneficiaries did not recerve the benefit of any rebates; all monies remained with the provider.
There was no way to provide for any rebates on Medicare claim forms, and Amgen’s rebates

were not provided until year-end:

[The effect of the rebates is that it reduces the actual cast of EPO
to a dialysis facility, thus increasing their gross profit. Presently,
the rebates represent price reductions which benefit the facilities
exclusively.
(“Review of Epogen Reimbursement,” (OIG A-01-02-00506 at 7-8)}.
226. By utilizing hidden inducements, Amgen provided purchasers with substantial
discounts meant to gain their patronage while maintaining the fiction of a higher wholesale price.
227. Ampen’s scheme to inflate its reported AWPs and market the resulting spread to

increase the market share of its drugs and its use of hidden rebates and financial inducements to
its customers has resulted m excessive overpayments by Plaintiffs and the Class.

5. Amgen Concealed Its AWP Manipulation

228. Ameen deliberately acted to conceal its fraudulent reporting and marketing of the
AWP spread. For example, as noted above, Amgen gave rebates to its Epogen customers which
effectively lowered the true price charged. When OIG asked Amgen for data on its total sales or
the total amount of Epogen rebates, Amgen refused to provide such data. (“Review of Epogen
Reimbursement,” (OIG A-01-02-00506 at 7-8)). .

229. In September 2001, the GAO reported that epoetin alfa accounted for the second
highest percentage of Medicare expenditures on drugs in 1999, accounting for 9.5% of spending
for prescription drugs by Medicare in 1999 and for 3.4% of all Medicare allowed services.

230. As set forth above, Amgen’s scheme to inflate its reported AWPs and market the
resulting spread to increase the market share of its drugs has resulted in excessive overpayments

by Plaintiffs and the Class.

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Cc. AstraZeneca
231.

AstraZeneca has engaged in an ongoing deliberate scheme to inflate AWPs. The

drugs at issue for this defendant are identified in Appendix A and summarized below:

| ASTRAZENECA

Accolate

zafirlukast

Leukotriene Antagonist (Respiratory Agent)
Used in the treatment of asthma

Armidex

anastrozole

Antiestrogen (Antineoplastic: Hormonal
Agonist/Antagonist)

Used in the treatment of breast cancer in
postmenopausal women

Atacand

candesartan cilexeti]

Angiotension I] Receptor Antagonist
(Cardiovascular Agent)
Used in the treatment of hypertension

Atacand HCT

candesartan cilexetil-
hydrocholorothiazide

Angiotension II Receptor Antagonist With
Diuretic (Cardiovascular Agent)
Used in the treatment of hypertension

Casodex

bicalutamide

Antineoplastic
Used in the treatment of prostate cancer

Diprivan

propofol

General Anesthetic

Used in the induction or maintenance of
anesthesia as part of balanced anesthetic
technique

Entocort

budesonide

Glucocorticoid
Used in the treatment of Crohn’s disease

Nexium

esomeprazole
magnesium

Proton Pump Inhibitor (Gastrointestinal
Agent)

Used in the treatment of heartburn and erosive
esophagitis

Nolvadex

tamoxifen citrate

Antiestrogen (Antineoplastic: Hormonal
Agonist/Antagonist)

Used in the treatment or prevention of breast
cancer

Prilosec

omeprazole

Proton Pump Inhibitor (Gastrointestinal
Agent)

Used in the treatment of gastric and duodenal
ulcers, gastroesophageal reflux disease and
erosive esophagitis

Pulmicort

budesonide {inh}

Glucocortiecid
Used for maintenance treatment of asthma

Rhinocort

budesonide (nasal)

Glucocorticcid
Used in the treatment of allergic rhinitis

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Antipsychotic Agent (Psychotherapeutic

Agent)

Used in the treatment of schizophrenia
Toprol metoprolol succinate | Beta Adrenergic Blocking Agent
(Cardiovascular Agent)

Used in the treatment of hypertension, angina
pectoris and heart failure
Zestril lisinopril Angiotension Converting Enzyme Inhibitor

(Cardiovascular Agent)

Used in the treatment of hypertension and
heart failure
Zoladex goserelin acetate Gonadotropin Releasing Hormone Analogue

(Antineoplastic: Hormonal
Agonist/Antagonist)

Used in the treatment of prostate and
advanced breast cancer
Zomig zolmitnptan Serotonin Receptor Agonist (Migraine

Preparation}

Used in the treatment of migraines

Seroquel quetiapine fumarate

1. AstraZeneca Has Been the Target of a Government Investigation

232. In connection with its scheme to inflate AWPs, AstraZeneca has been investigated
by the United States Department of Justice. In January 2002, a federal grand jury in
Wilmington, Delaware returned an indictment accusing a New Jersey doctor of conspiring with
AstraZeneca to resell free samples of Zoladex® that AstraZeneca sales representatives had given
the doctor. The indictment alleges that AstraZeneca (i) sold Zoladex® to the New Jersey doctor
and others at prices substantially below the AWP reported by AstraZeneca, and (ii) provided the
New Jersey doctor with materials showing how much more profit he could make by using
Zoladex® instead of its competitor, Lupron®.

233. In response to the government’s subpoena, AstraZeneca appears to have produced

documents related to Zoladex only.

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b.
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238.
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241.
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242. Thus, at the same time AstraZeneca was raising the AWP for Zoladex, it was
lowering the real price to providers (by giving bigger discounts), which served to widen the
spread.

243. Another document sets forth the difference between the purchase price and the
AWP at various volume levels. Note that even with no volume discount, a provider is still

making at least a $71.00 profit per unit on Zoladex ($358.55 - 286.84 = 71.71):

NEW LOWER CASE QUANTITY DISCOUNT
ZOLADEX PRICING

UNITSAWP COST DISCOUNT LESS 2%

1S $358.55 3286.84 0% $281.10
6-11 $358.55 $269.63 6% $264.24
12-23 $358.55 $261.02 9% $255.80
24-47 $358.55 $252.42 12% $247.37
48-59 $358.55 $243.81 15% $238.93
60-71 $358.55 $235.21 18% $230.50
72+ $358.55 $229.47 20% $224.88

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(P003060.)
244. The same document goes on to tout the practice’s ability to make more profit, or

retum on investment, by exploiting the AWP scheme:

Thank you for your time and listening ear on Monday, April 17.
As discussed, J am offering a proposal to switch Lupron patients to
Zoladex. Zeneca Pharmaceuticals now has new volume pricing,
with a 20% maximum discount, for Zoladex. What this will offer
the practice is an opportunity to save money, realize a better return
on investment, achieve the same profit you currently have with our
competitor and free up a substantial amount of working capital.
Zoladex will also save the patient money and the system money.

Based on a comparison of Zoladex and Lupron, if 480 depots are
used annually Zoladex will save the practice $57,177.60 a year.
Your dollar retum to the practice is now slightly higher with
Zoladex. This rate of retum for Zoladex is now 59% compared to
Lupron’s 39%
(P003058.)
245, Another AstraZeneca document even more explicitly demonstrates to providers

how they can profit from the AWP scheme, in excess of $64,000 per year:

ZOLADEX
Direct Pricing Medicare AWP $$Return / % Retum
72+ $224.88 $358.55 $133.67 59%

72x$224.88=$16,191.38 72x$358.55=$25,815.60 $9,624.24 59%

based on your use of 480 depots annually, with our 2% discount these
are the comparisons

$107,942.40 $172,104.00 $64,161.60 59%
(P003058.)

246. According to a September 2001 GAO report, the discount from AWP for medical
providers who purchased AstraZeneca’s Zoladex and billed Medicare was between 21.9% and
22.3%. (“Payments for Covered Outpatient Drugs Exceed Providers’ Cost, Sept. 2001”
(P005546-78).)

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247. AstraZeneca, through its employees and agents, also provided millions of dollars
worth of free samples of its drugs to providers. The free samples would be used to offset the
total cost associated with purchases of its drugs, thereby increasing the spread, while also
concealing the actual cost of the dmg from Plaintiffs and the Class. Moreover, at least as to
Zoladex®, AstraZeneca sales representatives specifically told providers that they could and
should bill for the free samples.

248. A written proposal from AstraZeneca Sales representative Randy Payne dated
July 17, 1995 encourages a urology practice to switch all of their patients to Zoladex and states:
“AS AN ADDED INCENTIVE, ZENECA WILL PROVIDE YOU WITH 50 FREE DEPOTS
(over $11,900 worth of product) FOR THE INITIAL CONVERSION TO ZOLADEX.”
(P003059.)

249. As set forth above, AstraZeneca’s scheme to inflate its reported AWPs for
Zoladex, market the resulting spread, and channel to providers “free” goods — all in order to
increase the market share of its drugs — has resulted in excessive overpayments by Plaintiffs and
the Class.

D. The Aventis Group (Aventis, Pharma, Hoechst and Behring)

250. Aventis engages in an organization-wide and deliberate scheme 10 inflate AWPs.

Aventis has stated fraudulent A WPs for ail or almost all of its drugs, including those set forth

below. The specific drugs of Aventis for which relief is sought in this case are set forth in |

Appendix A and are as follows:

AVENTIS GROUP Allegra fexofenadine Antihistamine
(Aventis, Pharma, Used for the relief of symptoms of seasonal
Hoechst and Behring) allergic rhinitis
Allegra-D fexofenadine Antihistamine
pseudoephedrine Used for the relief of symptoms of seasonal
allergic rhinitis

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glimepiride

Antidiabetic
Used ta lower blood glucose in Type II
diabetes patients

Anzemet

dolasetron mesylate

Antineoplastic
Used io prevent nausea and vomiting after
chemotherapy or operation

Arava

leflunomide

Antirheumatic
Used ia the treatment of active rheumatoid
arthritis

Azmacort

triamcinolone
aceonide (inh)

Steroidal Anti-Inflammatory Agent
(Respiratory Agent)
Used for maintenance treatment of asthma

Calcimar

calcitonin salmon

Parathyroid Agent

Used in the treatment of blood calcium
levels and to increase the level of calcium in
the bones

Carafate

sucralfate

Duodenal Ulcer Adherent Complex
(Gastrointestinal Agent}

Used in the treatment and maintenance
therapy of duodenal ulcer

Cardizem

diltiazem

Calcium Channel Blocker (Cardiovascular
Agent)
Used in the treatment of angina and

hypertension

Gammar PLY.

immune gicbulin

Inununizimg Agent
Used as a maintenance therapy in patients
with compromised immune systems

Tntal

cromolyn sodium

Antiasthmatic
Used to treat allergic rhinitis and severe
perennial bronchial asthma

Nasacort

triamcinolone
acetonide (nasal)

Steriodal Anti-Inflammatory Agent (Nasal
Preparation)

Used for nasal treatment of allergic rhinitis
symptoms

Taxotere

docetaxel

Antineoplastic
Used in the treatment of breast or lung
cancer after failed chemotherapy

Trentat

pentoxifylline

Blood Viscosity-Reducing Agent (Blood
Modifier}

Used to improve the flow of blood through
blood vessels

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1. Aventis Has Been the Target of Government Investigations

251. {In connection with its scheme to inflate AWPs, Aventis has been investigated by
the United States Department of Justice, the Office of Inspector General of the Department of
Health and Human Services, the Commerce Committee of the U.S. House of Representatives,
the Attorney General for the State of Texas, the Attorney General for the State of California, and

the State of Califomia Department of Justice Bureau of Medi-Cal Fraud and Elder Abuse.

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3.
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254.
a.
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b.
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4. - Aventis’ AWP Manipulation Benefited Providers at the Expense of the Class

255. The purpose of Aventis’ manipulation was to increase the spread in order to
maximize the profit to providers and other intermediaries at the expense of Plaintifis and the
Class.

256.

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259. REDACTED

5. Specific Aventis AWFs Documented by the DOJ

260. Ina report published by the DHHS (AB-00-86), the DOJ documented at least 15
instances where the published AWPs for various dosages of 4 drugs manufactured by Aventis
were substantially higher than the actual prices listed by wholesalers. The chart below sets forth
the 4 drugs identified by the DOJ and the spread associated with one particular dosage of each
drug. These figures compare the DOJ’s determination of an accurate AWP for that particular

dosage, based upon wholesalers’ price lists, with the AWP reported by Aventis in the 2001 Red
Book.

Drug 2001 Red Book | DOI Determined | Difference Percentage
AWP Actual AWP Spread
Anzemet Injectable $166.50 $74.08 $92.42 125%
(dolasetron mesylate}
Factor VIII/ Bioclate $1.25 $.9] $.34 37%
Factor VIII/ Helixate $1.18 3.78 $.40 51%
Gammoar (immune $400.00 $296.67 $103.33 35%
globulin}

(P006299-P0063 16).

. 261. An OIG report (see “Medicare Reimbursement of Prescription Drugs,” OEI-03-
00-003 10, Jan. 2001) further revealed that: (j) the AWP for all immmne globulin 5 mg doses
listed in the 1997 Red Book were inflated by an average spread of 32.21%; (ii) 2 10 mg dose of
Anzemet had a Medicare Median of $14.82 and a Catalog Median of $8.29, resulting in a spread

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of 78.76%; and (iii) a 20 mg dose of Taxotere had a Medicare Median of $283.65 anda Catalog
Median of $8.29, resulting m a spread of 18.75%. (P006398-006424).

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264. A government investigation revealed similar inflated pricing implemented by
Aventis with respect to the injectable form of Anzemet. In a September 28, 2000 letter to Alan
F, Holmer, President of the Pharmaceutical Research and Manufacturers of America, U.S. Rep.

Pete Stark provided a synopsis of the scheme implemented by Aventis (Hoechst):

The following chart represents a comparison of Hoechst’s
fraudulent price representations for its injectable form of the drug
versus the truthful prices paid by the industry insider. It is [sic]
also compares Hoechst’s price representations for the tablet form
of Anzemet and the insider’s true prices. It is extremely interesting
that Hoechst did not create a spread for its tablet form of Anzemet
but only the injectable form. This is because Medicare reimburses
Doctors for the injectable fonn of this drug and by giving them a
profit, can influence prescribing. The tablet form is dispensed by
pharmacists, who accept the Doctor’s order. And this underscores
the frustration that federal and state regulators have experienced in
their attempts to estimate the truthful prices being paid by
providers in the marketplace for prescription drugs and
underscores the fact that, if we cannot rely upon the drug
companies to make honest and truthful representations of their
prices, Congress will be left with no alternative other than to
legisiate price controls,

NDC No: Unit Size/ Quantity Net Price as | True Variance
Type Represented | Wholesale
to Florida Price
Medicaid
0088-1206-32 | 100 mg/5 ml i 5124.90 $70.00 Represented price 78%
Injectable higher than true
wholesale price.

(P007548-007588).

7.
265.
REDACTED
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REDACTED

266.

REDACTED

267. U.S. Rep. Thomas J. Bliley, in a May 4, 2000 letter to the CEO of Aventis

(Behring), also stated concerns regarding Aventis’ pricing of Gammar:

The Office of Inspector General (OIG) at the Department of Health
and Human Services determined that the Medicare-allowed
amount for immune globulin, a pharmaceutical product sold by
your company under the name Gammar, in Fiscal Year 1996 was
$42.21. The OIG further estimated that the actual wholesale price
of this drug was $16.12 and the highest available wholesale price
that the OIG was able to identify was $32.11.

(P006962-P006966).

8. Inflated AWPs From Aventis’ Price Lists

268. In response to government subpoenas, Aventis produced numerous price lists

setting forth spreads between AWPs and prices offered to wholesalers, providers and other

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intermediaries. A review of those price lists reveals that Aventis has consistently offered drugs
and other solutions to its customers at prices significantly below the published AWP and that the
spread was of great importance to its customers. To repeat every one of those drugs and the
spread offered to each specific customer here is not practical.

269.
REDACTED

270. As set forth above, Aventis’ scheme to inflate its reported AWPs and market the
resulting spread to increase the market share of its drugs has resulted in excessive overpayments
by Plaintiffs and the Class.

9.

271.

REDACTED

E. Baxter

272. Baxter engages in an organization-wide and deliberate scheme to inflate AWPs. -
Baxter has stated fraudulent AWPs for all or almost all of its drugs those set forth below. The
specific drugs of Baxter for which relief is sought in this case are set forth in Appendix A and are

summarized below:

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BAXTER

tirofiban hydrochloride

Glycoprotein Receptor Inhibitor (Blood
Modifter)
Used in the treatment of acute coronary
symptoms

Ativan

lorazepam

Antianxiety Agent (Psychotherapeutic Agent);
Anticonvulsant
Used to relieve anxiety and treat insomnia

Bebulin VH

factor ix (systemic)

Antihemotthagic Agent
Used to treat hemophilia B

Brevibloc

esmolol hcl

Autonomic Nervous System Agent

Used in the treatment of tachyarrhythmias in
critical situations

Burminate

albumin (human)

Plasma Fraction (Blood Modifier)
Used in the treatment of hypovolemia and
hypoalbuminemia

Claforan

cephalosporin
(systemic)

Antibacterial Agent (Anti-Infective Agent)
Used in the treatment of infections caused by
bacteria

imumune globulin
solution

Antibacterial Agent (Anti-Infective Agent)
Used to prevent or treat some illnesses.

dextran

Blood Derivative; Blood Modifier
Used in the emergency treatment of shock

Holoxan/Tfex

ifosfamide

Antineoplastic
Used in the treatment of various forms of
cancer

Iveegam EN

immune globulin iv

Antibacterial Agent (Anti-Infective Agent)
Used as replacement therapy in patients with
primary immunodeficiency syndromes

Osrnitro]

mannitol

{ Osmotic Diuretic

Used to promote diureses during treatment of
acute kidney failure. Aisc used to reduce
intraocular and intracranial pressure

Recombinate

factor viii

Antihemophilic Factor
Used to induce blood clotting

Travasel

amino acid

Dietary Supplement
Used for nutritional support in cancer patients

Vancocia HCl

vancomycin
hydrochloride

Antibacterial Agent (Anti-Infective Agent)
Used in the treatment of infections caused by
bacteria

cisplatin

Antineoplastic
Used to treat cancer of the bladder, ovaries,
and testicles

dextrose

Caloric Agent, Electrolyte Replenisher
Used to increase intake of calories and fluids

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